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The Hon. Richard D. Bennett                                        BY      -------OEPUTy
District Judge
Chambers 50
U.S. District Court of Maryland
101 West Lombard Street
Baltimore, MD 21201                                            RE: USA v. Nathaniel T. Oaks
                                                                   I: 17-cr-002SS-RDB
Dear Judge Bennett:

        I am writing to respectfully request that the court reconsider its decision to seal the
sentencing memoranda filed this week by the defense and prosecution in the above referenced
case involving fonner state Sen. Nathaniel T. Oaks. I am making this request as a credentialed
member of the press, a reporter for Mmyland Mailers, who for months has covered the Oaks
case, including his March 29, 20 IS, guilty plea in your courtroom.

        I am not a lawyer, so I trust you will not find this presumptuous of me to interpose myself
in a federal criminal case as a third party, but I feel it my duty as a surrogate for the public to
object to the sealing of the memoranda. Here's why: Mr. Oaks is a public figure who used the
color of his elective office to elicit bribes and thus violated the public trust. He was the subject of
a federal investigation into political corruption by public officials in the state of Maryland - a
probe in which he allegedly agreed at one point to cooperate with investigators, only to allegedly
reveal the investigation to possible targets, initially unbeknownst to federal agents. Public money
was spent to investigate this case, prosecute this case and even to defend Mr. Oaks in this case.

        Attorneys for the defense on July 9, 20IS, filed a sentencing memorandum with IS
exhibits (ECF No.1 OS). The same date, counsel filed a motion to seal a "Supplemental
Sentencing Memorandum" (ECF No. 109), which supposedly contained "confidential health
information." The next day, July 10, 20 IS, your honor signed the order to seal the "Supplemental
Sentencing Memorandum" (ECF No. III).

       It is unclear where or when the defense's original Sentencing Memorandum was filed.
There is no record of such a filing in the PACER electronic case file.

        On July 11,20 IS, the prosecution filed a sentencing memorandum with 15 exhibits (ECF
No. 112). That, too, is sealed, though there is no motion or order in the PACER electronic file to
support its being sealed.

        Another factor for your consideration is that on July 10, 201S, the S/ln newspaper
published an article detailing the information included in the defense's" 171-page sentencing
memorandum filed this week." Included in the defense filing, according to 77w SUI/ account,
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were letters from five former state legislators and a former Baltimore police commissioner. The
Sun article goes on to report that the defense also filed a "supplemental sentencing memorandum
under seal" because it contained "confidential health infonnation about Oaks."

          At no point in the Sun article is there a mention of the "sentencing memorandum" being
sealed.

        On July 12,2018, The Sun published another article - this one about the prosecution's
sentencing memorandum and its recommendations to the court. At no point in the second article
is there any mention of the prosecution's sentencing memorandum being sealed.

        I realize that the court generally does not concern itself with what mayor may not be
published in the press, but in this case, I believe it important to bring to your honor's attention
because the files apparently were available to the public for a very small window of time before
being sealed.

        Today, July 13, 2018, the defense filed a "second supplemental sentencing letter" (ECF
No. 113)- yet unsealed -- taking issue with the prosecution's recommendations for a prison term
for Mr. Oaks.

        It is unclear to me why any sentencing memoranda or letters would be sealed, given that
they are filed to bolster points to be made in oral arguments by both sides in open court for your
honor's consideration on the day of sentencing.

        For this reason, I am taking the extraordinary step of respectfully asking the court to
reconsider its earlier decision and order the sentencing memoranda tiled by the defense and
prosecution unsealed in this very important case involving a violation of the public trust by a
public official.

       As you know, time is of the essence in this matter, as the sentencing of Mr. Oaks is
scheduled before your honor at 11 a.m., Tuesday, July 17.

        Should you have any concerns or questions, please feel free to contact me on my
cell phone, 410-960-9377, or bye-mail, bzorzi@marylandmatters.org.

          Thank you for your time, consideration and attention to this matter.




                                                                       William F.
                                                                       Reporter
                                                                       Maryland Matters
